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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Eastern District of Michigan
 In re          Robert S. Shumake                                                                          Case No.      13-40001
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             4                  26,643.00


C - Property Claimed as Exempt                            Yes             2


D - Creditors Holding Secured Claims                      Yes             1                                           22,000.00


E - Creditors Holding Unsecured                           Yes             2                                          536,228.47
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             6                                      3,357,523.05
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             2


I - Current Income of Individual                          Yes             1                                                                             0.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       5,150.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                21


                                                                    Total Assets             26,643.00


                                                                                     Total Liabilities           3,915,751.52




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Eastern District of Michigan
 In re           Robert S. Shumake                                                                           Case No.   13-40001
                                                                                                         ,
                                                                                       Debtor
                                                                                                             Chapter                      7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re         Robert S. Shumake                                                                             Case No.     13-40001
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

09759 Bonnie Brook, Charlevoix, Charlevoix                               equity of redemption        -                   Unknown                           0.00
County, Michigan. Property value estimated to be
$250,000. Debtor's interest has no market value,
but he claims an exemption in it because he may
choose to retain it. Litigation regarding the
foreclosure is pending in the Michigan Court of
Appeals.




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                         Total >              0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        cash                                                              -                            50.00

2.    Checking, savings or other financial                First National Bank (Botswana)                                    -                              8.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Banco Popular Dominicano, S.A. (Dominican                         -                            84.00
      thrift, building and loan, and                      Republic)
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    household goods, furniture. At 546 Graten St.,                    -                      10,000.00
      including audio, video, and                         Birmingham MI 48009, and Charlevoix house.
      computer equipment.

5.    Books, pictures and other art                       Miscellaneous items included in item 4. No                        -                              0.00
      objects, antiques, stamp, coin,                     valuable art objects or collectibles.
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing, apparel, accessories, watches                           -                        1,500.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,                  Miscellaneous sporting goods included in item 4.                  -                              0.00
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >          11,642.00
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  3    continuation sheets attached to the Schedule of Personal Property
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   ICG Real Estate Advisors, LLC, a Michigan limited                 -                              0.00
    and unincorporated businesses.                        liabilty company. Membership interest, no market
    Itemize.                                              value.

                                                          ICG Leaseback Fund I, LLC, a Michigan limited                     -                              0.00
                                                          liabiltiy company. Debtor owns sole membership
                                                          interest. No current market value, but debtor
                                                          intends to retain ownership as it is believed to have
                                                          potential value to him.

                                                          Robert Shumake LLC, a Michigan limited liabilty                   -                              0.00
                                                          company.

                                                          ICG Real Estate Advisors Manager LLC                              -                              0.00

                                                          Meek Communications LLC                                           -                              0.00

                                                          Meek Lakewood, LLC                                                -                              0.00

                                                          Southfield Properties Group, LLC, 5% membership                   -                              1.00
                                                          interest

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.




                                                                                                                            Sub-Total >                  1.00
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Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
                  13-40001-mlo                 Doc 8         Filed 01/15/13         Entered 01/15/13 22:12:45                   Page 5 of 38
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Claims asserted in Macomb County Circuit Court                    -                      Unknown
    claims of every nature, including                     lawsuit against Ronald Zajac, John Clark, Estate of
    tax refunds, counterclaims of the                     Steven Pankake, and Michael Pankake.
    debtor, and rights to setoff claims.
    Give estimated value of each.                         Claims asserted against Deutsche Bank National                    -                              0.00
                                                          Trust Company in Charleviox County litigation
                                                          (currently before the Michigan Court of Appeals).
                                                          These claims are listed in schedule A and are
                                                          claimed as exempt because the remedy includes
                                                          restoration of the debtor's rights in the subject real
                                                          property.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2007 Mercedes-Benz S550. 150,000 miles.                           -                      15,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X


                                                                                                                            Sub-Total >          15,000.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
                  13-40001-mlo                 Doc 8         Filed 01/15/13         Entered 01/15/13 22:12:45                   Page 6 of 38
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
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                                                                                                                                 Total >         26,643.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
                  13-40001-mlo                 Doc 8         Filed 01/15/13         Entered 01/15/13 22:12:45                   Page 7 of 38
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 B6C (Official Form 6C) (4/10)


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  In re         Robert S. Shumake                                                                                      Case No.           13-40001
                                                                                                           ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
09759 Bonnie Brook, Charlevoix, Charlevoix                                11 U.S.C. § 522(d)(1)                                          100%                       Unknown
County, Michigan. Property value estimated to
be $250,000. Debtor's interest has no market
value, but he claims an exemption in it because
he may choose to retain it. Litigation regarding
the foreclosure is pending in the Michigan
Court of Appeals.

Cash on Hand
cash                                                                      11 U.S.C. § 522(d)(5)                                          50.00                            50.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
First National Bank (Botswana)                    11 U.S.C. § 522(d)(5)                                                                    8.00                             8.00

Banco Popular Dominicano, S.A. (Dominican                                 11 U.S.C. § 522(d)(5)                                          84.00                            84.00
Republic)

Household Goods and Furnishings
household goods, furniture. At 546 Graten St.,                            11 U.S.C. § 522(d)(3)                                    10,000.00                        10,000.00
Birmingham MI 48009, and Charlevoix house.

Wearing Apparel
Clothing, apparel, accessories, watches                                   11 U.S.C. § 522(d)(3)                                      1,500.00                         1,500.00
                                                                          11 U.S.C. § 522(d)(4) jewelry                              1,450.00
                                                                          exemption claimed with respect to
                                                                          watches

Stock and Interests in Businesses
ICG Leaseback Fund I, LLC, a Michigan limited                             11 U.S.C. § 522(d)(5)                                        500.00                               0.00
liabiltiy company. Debtor owns sole
membership interest. No current market value,
but debtor intends to retain ownership as it is
believed to have potential value to him.

Robert Shumake LLC, a Michigan limited liabilty                           11 U.S.C. § 522(d)(5)                                        100.00                               0.00
company.

Southfield Properties Group, LLC, 5%                                      11 U.S.C. § 522(d)(5)                                        100.00                               1.00
membership interest

Other Contingent and Unliquidated Claims of Every Nature
Claims asserted in Macomb County Circuit          11 U.S.C. § 522(d)(5)                                                                100.00                       Unknown
Court lawsuit against Ronald Zajac, John Clark,
Estate of Steven Pankake, and Michael
Pankake.




    1     continuation sheets attached to Schedule
                  13-40001-mlo             Doc 8of Property Claimed as Exempt
                                                    Filed 01/15/13        Entered                   01/15/13 22:12:45                     Page 8 of 38
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 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Robert S. Shumake                                                                            Case No.      13-40001
                                                                                                        ,
                                                                                         Debtor

                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing            Value of            Current Value of
                  Description of Property                                          Each Exemption                Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Claims asserted against Deutsche Bank                                     11 U.S.C. § 522(d)(1)                         9,300.00                     0.00
National Trust Company in Charleviox County
litigation (currently before the Michigan Court of
Appeals). These claims are listed in schedule A
and are claimed as exempt because the remedy
includes restoration of the debtor's rights in the
subject real property.

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Mercedes-Benz S550. 150,000 miles.                                   11 U.S.C. § 522(d)(2)                         3,450.00              15,000.00




                                                                                             Total:                 26,642.00                 26,643.00
 Sheet     1         1 continuation sheets attached to the Schedule of Property Claimed as Exempt
                of 13-40001-mlo        Doc 8 Filed 01/15/13 Entered 01/15/13                                22:12:45       Page 9 of 38
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 B6D (Official Form 6D) (12/07)


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  In re         Robert S. Shumake                                                                                         Case No.       13-40001
                                                                                                             ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                          I    Q   U                             PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                   09759 Bonnie Brook, Charlevoix,                              E
                                                              Charlevoix County, Michigan. Property                        D

Countrywide                                                   value estimated to be $250,000.
P.O. Box 650070                                               Debtor's interest has no market value,
                                                              but he claims an exemption in it
Dallas, TX 75265-0070
                                                            - because he may choose to retain it.
                                                              Litigation regarding the fo
                                                                 Value $                              Unknown                                    0.00              Unknown
Account No. xxxx xxxx xx19 02                                    security interest noted on title 3.18.2009

JPMorgan Chase Bank NA (auto)                                    2007 Mercedes-Benz S550. 150,000
PO Box 901098                                                    miles.
Fort Worth, TX 76101
                                                            -

                                                                 Value $                              15,000.00                           22,000.00                  7,000.00
Account No.




                                                                 Value $
Account No.




                                                                 Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                        22,000.00                  7,000.00
                                                                                                          (Total of this page)
                                                                                                                     Total                22,000.00                  7,000.00
                                                                                           (Report on Summary of Schedules)
                  13-40001-mlo                 Doc 8            Filed 01/15/13              Entered 01/15/13 22:12:45                  Page 10 of 38
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B6E (Official Form 6E) (4/10)


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 In re         Robert S. Shumake                                                                                                  Case No.            13-40001
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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 B6E (Official Form 6E) (4/10) - Cont.




  In re         Robert S. Shumake                                                                                        Case No.      13-40001
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No. xxx-xx-9178                                          1040 - 2006-2009                                         E
                                                                                                                          D

Internal Revenue Service
U.S. Department of Treasury                                                                                                                          Unknown
P.O. Box 7346
                                                            -                                                                 X
Philadelphia, PA 19101-7346

                                                                                                                                       386,228.47            Unknown
Account No.                                                      2005 -2010 income taxes

State of Michigan
Department of Treasury                                                                                                                               Unknown
Collection Division
                                                            -                                                                 X
P.O. Box 77437
Detroit, MI 48277
                                                                                                                                       150,000.00            Unknown
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)          536,228.47                    0.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)            536,228.47                    0.00
                  13-40001-mlo                 Doc 8            Filed 01/15/13              Entered 01/15/13 22:12:45                  Page 12 of 38
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 B6F (Official Form 6F) (12/07)


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  In re         Robert S. Shumake                                                                                        Case No.         13-40001
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. x-x1005                                                           credit card                                                   T   T
                                                                                                                                                E
                                                                                                                                                D

American Express
Box 0001                                                             X -
Los Angeles, CA 90096-8000

                                                                                                                                                                     70,000.00
Account No.                                                                   loan for business purposes

Angelo D'Alessandro
3800 Woodward Avenue, Ste. 410                                            -
Detroit, MI 48201

                                                                                                                                                                   150,000.00
Account No. x1606                                                             dining

Capitol Hill Club
300 First Street, S.E.                                                    -
Washington, DC 20003

                                                                                                                                                                         958.11
Account No. xxxxxxxxxxxx5573                                                  cable

Charter Communications
1265 John Q. Hammons, Ste. 100                                            -
Madison, WI 53717-1936

                                                                                                                                                                         316.44

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                 221,274.55
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   mortgage loan, formerly secured by Charlevoix           E
                                                                              real property. Amount listed is estimated               D

CitiMortgage Inc.                                                             deficiency balance.
Bankruptcy Department                                                     -
Attn: MC0023
5280 Corporate Drive
Frederick, MD 21703-8351                                                                                                                              530,000.00
Account No.                                                                   property tax

City of Charlevoix
201 State Street                                                          -
Charlevoix, MI 49720

                                                                                                                                                            295.59
Account No. xxxx xxxx xxxx 5570                                               cable

Comcast
Charter                                                                   -
P.O. Box 901076
Fort Worth, TX 76101-2076
                                                                                                                                                            325.00
Account No. xxxx xxxxx 5185                                                   Utilities

Consumers Energy
Lansing, MI 48937-0001                                                    -



                                                                                                                                                          1,789.00
Account No. tbd                                                               Utilities

Consumers Energy
Lansing, MI 48937-0001                                                    -



                                                                                                                                                            689.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      533,098.59
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   deficiency balance, Charlevoix mortgage                 E
                                                                                                                                      D

Deutsche Bank National Trust
Company                                                                   -
300 South Grand Avenue
Los Angeles, CA 90071
                                                                                                                                                      500,000.00
Account No. xxxx xxx x002 2                                                   Utilities

DTE Energy
One Energy Plaza                                                          -
Detroit, MI 48226-1221

                                                                                                                                                            226.00
Account No. xxxx xxx x003 0                                                   Utilities

DTE Energy
One Energy Plaza                                                          -
Detroit, MI 48226-1221

                                                                                                                                                            159.95
Account No.                                                                   business loan

Fifth Third Bank
P.O. Box 630337                                                           -
Cincinnati, OH 45263-0001

                                                                                                                                                      750,000.00
Account No.                                                                   claim asserted in Wayne County lawsuit.

General Retirement System / Detroit
c/o Peter A Jackson, Esq.                                                 -                                                               X
Clark Hill PLC
500 Woodward, 35th Floor
Detroit, MI 48226                                                                                                                                               0.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,250,385.95
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx2-001                                                                                                             E
                                                                                                                                      D

Great Lakes Energy
2183 N. Water Road                                                        -
Hart, MI 49420-9007

                                                                                                                                                            276.47
Account No. x1132                                                             company debt, listed for notice purposes.

Heenan, Blaikie Management Ltd.
1250 boul Rene-Levesque O                                            X -                                                                  X
Montreal Quebec, Canada H3B4Y1

                                                                                                                                                        31,103.69
Account No.                                                                   litigation - attorneys fees

Joelson, Rosenberg, Moss, Cohen,
Warren & Drasnin, P.L.C.                                             X -
30665 Northwestern Hwy., Ste. 200
Farmington Hills, MI 48334-3144
                                                                                                                                                        30,000.00
Account No.                                                                   attorney fees

Law Office of Douglas D. Hampton,
P.C.                                                                 X -
2000 Town Center, Ste. 1900
Southfield, MI 48075
                                                                                                                                                          7,000.00
Account No. xxxx2607                                                          life insurance (policy lapsed).

MassMutual Financial Group
P.O. Box 75045                                                            -
Charlotte, NC 28275-0045

                                                                                                                                                          1,415.42

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        69,795.58
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx xxxx xxxx 9226                                               credit card                                             E
                                                                                                                                      D

Michigan First Credit Union
Customer Service                                                          -
P.O. Box 31112
Tampa, FL 33631-3112
                                                                                                                                                        10,672.97
Account No.                                                                   Eaton Street

P & B Investments
111 Cadillac Square, Suite 300                                            -
Detroit, MI 48226

                                                                                                                                                          2,500.00
Account No.

Police and Fire Retirement / Detroit
c/o Peter A. Jackson, Esq.                                                -
Clark Hill PLC
500 Woodward, 35th Floor
Detroit, MI 48226                                                                                                                                               0.00
Account No.                                                                   personal guaranty of real-estate loan

Prime Financial, Inc.
31800 Northwestern Highway, Suite                                    X -
207
Farmington, MI 48334
                                                                                                                                                    1,000,000.00
Account No.                                                                   Loan for business purposes.

Sal Calvalere
3800 Woodward Avenue, Ste. 410                                       X -
Detroit, MI 48201

                                                                                                                                                      200,000.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,213,172.97
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                        Case No.      13-40001
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxx6504                                                                                                                       E
                                                                                                                                             D

State Farm Insurance
42690 Woodward Avenue, Suite 175                                          -
Bloomfield Hills, MI 48304-5066

                                                                                                                                                                 1,202.00
Account No. xxxxxxxxx-x0001                                                   cell phone

VerizonWireless
P.O. Box 4002                                                        X -
Acworth, GA 30101

                                                                                                                                                                 3,415.41
Account No.

Vernor Norwood
18693 Mark Twain                                                          -
Detroit, MI 48221

                                                                                                                                                               50,000.00
Account No. xxx-xxxxxx3-002                                                   Sharp copier lease

Wells Fargo
Leasing Customer Service                                             X -
MAC F4031-050
800 Walnut Street
Des Moines, IA 50309-3605                                                                                                                                      11,978.00
Account No. xxx03-00                                                          water bills

WRC
One Public Works Drive                                               X -
Bldg. 95 West
Waterford, MI 48328-1907
                                                                                                                                                                 3,200.00

           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               69,795.41
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)            3,357,523.05

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 In re             Robert S. Shumake                                                                           Case No.        13-40001
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Great American Insurnace Company                                    Cost of Defense Advancement Agreement, April
                    c/o James K. Thurston Esq.                                          2012. Other parties include ICG Real Estate
                    Wilson, Elser, Moskowitz et al.,                                    Advisors, LLC
                    55 W. Monroe, Suite 3800
                    Chicago, IL 60603

                    P & B Investments                                                   Lease of townhouse at 346 Graten Street,
                    111 Cadillac Square, Suite 300                                      Birmingham, Oakland County, Michigan.
                    Detroit, MI 48226




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                continuation sheets attachedDoc   8 Filed
                                            to Schedule       01/15/13
                                                        of Executory Contracts Entered    01/15/13
                                                                               and Unexpired Leases          22:12:45        Page 19 of 38
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B6H (Official Form 6H) (12/07)


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 In re          Robert S. Shumake                                                                       Case No.       13-40001
                                                                                              ,
                                                                            Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                Darian Trotter                                                   American Express
                3421 Franklin Avenue                                             Box 0001
                New Orleans, LA 70122                                            Los Angeles, CA 90096-8000

                First Equity Holdings                                            Prime Financial, Inc.
                2000 Town Center, Ste. 1900                                      31800 Northwestern Highway, Suite 207
                Southfield, MI 48075                                             Farmington, MI 48334

                ICG Leaseback Fund I, LLC                                        Law Office of Douglas D. Hampton, P.C.
                2000 Town Center, Suite 1900                                     2000 Town Center, Ste. 1900
                Southfield, MI 48075                                             Southfield, MI 48075

                ICG Real Estate Advisors, LLC                                    Joelson, Rosenberg, Moss, Cohen,
                2000 Town Center, Suite 1900                                     Warren & Drasnin, P.L.C.
                Southfield, MI 48075                                             30665 Northwestern Hwy., Ste. 200
                                                                                 Farmington Hills, MI 48334-3144

                ICG Real Estate Advisors, LLC                                    Law Office of Douglas D. Hampton, P.C.
                2000 Town Center, Suite 1900                                     2000 Town Center, Ste. 1900
                Southfield, MI 48075                                             Southfield, MI 48075

                ICG Real Estate Advisors, LLC                                    Heenan, Blaikie Management Ltd.
                2000 Town Center, Suite 1900                                     1250 boul Rene-Levesque O
                Southfield, MI 48075                                             Montreal Quebec, Canada H3B4Y1

                ICG Real Estate Advisors, LLC                                    VerizonWireless
                2000 Town Center, Suite 1900                                     P.O. Box 4002
                Southfield, MI 48075                                             Acworth, GA 30101

                ICG Real Estate Advisors, LLC                                    Wells Fargo
                2000 Town Center, Suite 1900                                     Leasing Customer Service
                Southfield, MI 48075                                             MAC F4031-050
                                                                                 800 Walnut Street
                                                                                 Des Moines, IA 50309-3605

                ICG Real Estate Advisors, LLC                                    WRC
                2000 Town Center, Suite 1900                                     One Public Works Drive
                Southfield, MI 48075                                             Bldg. 95 West
                                                                                 Waterford, MI 48328-1907

                Meek Lakewood LLC                                                Sal Calvalere
                2000 Town Center, Ste. 1900                                      3800 Woodward Avenue, Ste. 410
                Southfield, MI 48075                                             Detroit, MI 48201

                Robert Shumake LLC
                2000 Town Center, Suite 1900
                Southfield, MI 48075



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              continuation sheets attachedDoc
                  13-40001-mlo             to Schedule
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 In re         Robert S. Shumake                                                                     Case No.   13-40001
                                                                                                ,
                                                                                  Debtor

                                                              SCHEDULE H - CODEBTORS
                                                                         (Continuation Sheet)


                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR


                  Shufund Capital, LLC
                  2000 Town Center, Suite 1900
                  Southfield, MI 48075

                  W&D Real Estate Opportunity Fund I, LLC
                  2000 Town Center, Suite 1900
                  Southfield, MI 48075




    Sheet     1     of 1       continuation sheets attached to the Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
 In re    Robert S. Shumake                                                                             Case No.       13-40001
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               Daughter                                                    16
                                             Son                                                         18
                                             Daughter                                                    20
Employment:                                            DEBTOR                                                      SPOUSE
Occupation                           real estate development
Name of Employer                     self employed
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $              0.00      $                N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $                N/A
     b. Insurance                                                                                        $              0.00      $                N/A
     c. Union dues                                                                                       $              0.00      $                N/A
     d. Other (Specify):                                                                                 $              0.00      $                N/A
                                                                                                         $              0.00      $                N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $                N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $                N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $                N/A
8. Income from real property                                                                             $              0.00      $                N/A
9. Interest and dividends                                                                                $              0.00      $                N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $                N/A
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $                N/A
                                                                                                         $              0.00      $                N/A
12. Pension or retirement income                                                                         $              0.00      $                N/A
13. Other monthly income
(Specify):                                                                                               $              0.00      $                N/A
                                                                                                         $              0.00      $                N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $                N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $              0.00      $                N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $              0.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor is undertaking new business ventures and intends to earn income.




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B6J (Official Form 6J) (12/07)
 In re    Robert S. Shumake                                                                   Case No.    13-40001
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,500.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    200.00
                   b. Water and sewer                                                                       $                      0.00
                   c. Telephone                                                                             $                      0.00
                   d. Other                                                                                 $                      0.00
3. Home maintenance (repairs and upkeep)                                                                    $                      0.00
4. Food                                                                                                     $                    300.00
5. Clothing                                                                                                 $                      0.00
6. Laundry and dry cleaning                                                                                 $                    250.00
7. Medical and dental expenses                                                                              $                      0.00
8. Transportation (not including car payments)                                                              $                    400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                      0.00
10. Charitable contributions                                                                                $                      0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                        0.00
                   b. Life                                                                                  $                        0.00
                   c. Health                                                                                $                        0.00
                   d. Auto                                                                                  $                        0.00
                   e. Other                                                                                 $                        0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                       0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                 1,000.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                   500.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,150.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      expenses for Cherlevoix house not included. Continued possession depends upon outcome
      of appeal.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                     0.00
b. Average monthly expenses from Line 18 above                                                              $                 5,150.00
c. Monthly net income (a. minus b.)                                                                         $                -5,150.00




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                           United States Bankruptcy Court
                                                                 Eastern District of Michigan
 In re      Robert S. Shumake                                                                                         Case No.        13-40001
                                                                                    Debtor(s)                         Chapter         7

                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                               23       sheets, and that
they are true and correct to the best of my knowledge, information, and belief.

 Date      January 15, 2013                                                           Signature:      /s/ Robert S. Shumake
                                                                                                                           Debtor

 Date                                                                                 Signature:
                                                                                                                            (Joint Debtor, if any)
                                                                                           [If joint case, both spouses must sign.]

         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

     I, the     [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the       [corporation or partnership] named as a debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of          sheets [total shown on summary page plus 1], and that
they are true and correct to the best of my knowledge, information, and belief.

 Date                                                                                 Signature:

                                                                                                       [Print or type name of individual signing on behalf of debtor]

                            [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                                 Eastern District of Michigan
 In re       Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $150,000.00                       ICG Leaseback 2011 (estimated)
                          $0.00                             2012 (return has not been prepared)

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $300,000.00                       life insurance proceeds, 2012




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              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                NATURE OF                               COURT OR AGENCY                                   STATUS OR
AND CASE NUMBER                                PROCEEDING                              AND LOCATION                                      DISPOSITION
Steven B. Pankake LLC v. ICG Leaseback Fund I complex                                  Macomb County Circuit Court, 40 N.                pending.
LLC, ICG Real Estate Advisors LLC et al., case                                         Main St., Mount Clemens, MI
no 2011-002570-CK                                                                      48043-5656
Pension                                                                complex         Wayne County Circuit Court, 2
                                                                                       Woodward Avenue, Detroit, MI 48226
Robert Shumake v. Deutsche Bank National                               challenge to    Oakland County Circuit Court, 1200 N.             Pending in
Trust Company, Case No. 2011-117657                                    foreclosure     Telegraph, Dept. 404 Pontiac, MI 48341            33rd Circuit
                                                                                                                                         Court,
                                                                                                                                         Charlevoix
                                                                                                                                         County, 301
                                                                                                                                         State St.,
                                                                                                                                         Charlevoix, MI
                                                                                                                                         49720
Robert Shumake v. Deutsche Bank National                               challenge to    Charlevoix County Circuit Court, 301              Pending in MI
Trust Company, Case No. 12-098323                                      foreclosure     State St., Charlevoix, MI 49720                   Court of
                                                                                                                                         Appeals



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                  PROPERTY

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT             VALUE OF GIFT
Solid Rock Assembly of God                                none                                approx. March           $30,000.00 (from life
14273 East Seven Mile Road                                                                    2012                    insurance)
Detroit, MI 48205
other contributions                                                                                                   amounts have not been
                                                                                                                      determined because
                                                                                                                      accounting for the year has
                                                                                                                      not been performed.
Recipients were persons who                               none                                July 2012               $20,000.00 approximate
participated in barbeque for the                                                                                      amount. (Debtor particpated
homeless.                                                                                                             by paying some expenses for
                                                                                                                      the event.)




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B 7 (12/12)                                                                                                                                                  4

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY
Silverman & Morris, P.L.L.C.                                           12.19.12                                      $3,000
30500 Northwestern Highway
Suite 200
Farmington, MI 48334
Silverman & Morris, P.L.L.C.                                           January 15, 2013                              $1,500
30500 Northwestern Highway
Suite 200
Farmington, MI 48334

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING




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              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                  AMOUNT OF SETOFF

              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                   LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                       DATES OF OCCUPANCY
381 Keswick,                                                                                                           2007 to August 2012
Bloomfield HIlls, Michigan

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:



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                                                      NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                       NOTICE                        LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                       NOTICE                        LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                STATUS OR DISPOSITION

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                             BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                      NATURE OF BUSINESS              ENDING DATES
ICG Real Estate                 XX-XXXXXXX                       2000 Town Center, Suite      advisory services in the
Advisors, LLC                                                    1900                         purchase and sale of
                                                                 Southfield, MI 48075         real estate.
ICG Real Estate                 XX-XXXXXXX                       2000 Town Center, Suite      advisory services in the
Advisors Manager                                                 1900                         purchase and sale of
LLC                                                              Southfield, MI 48075         real estate.
Shufund Capital, LLC XX-XXXXXXX                                  18530 Mack Avenue, Suite     organized, but no
                                                                 339                          membership interest
                                                                 Grosse Pointe, MI 48236      issued or business
                                                                                              conducted.
ICG Leaseback Fund              XX-XXXXXXX                       2000 Town Center, Suite      owns real estate
I, LLC                                                           1900
                                                                 Southfield, MI 48075
Island Capital                  XX-XXXXXXX                       2000 Town Center, Suite      has not conducted
Manager                                                          1900                         business
                                                                 Southfield, MI 48075
Robert Shumake LLC                                               2000 Town Center, Suite
                                                                 1900
                                                                 Southfield, MI 48075
ICG EMRG-HD, LLC                XX-XXXXXXX                       2000 Town Center, Suite      has not conducted
                                                                 1900                         business.
                                                                 Southfield, MI 48075


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                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                 BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                         NATURE OF BUSINESS               ENDING DATES
ICG EMRG-KY, LLC                XX-XXXXXXX                       2000 Town Center, Suite         has not conducted
                                                                 1900                            business.
                                                                 Southfield, MI 48075
Second Life LLC                                                  2000 Town Center, Suite         has not conducted
                                                                 1900                            business.
                                                                 Southfield, MI 48075
Meek                                                             25900 W. 11 Mile Road,          management company               formed 6/12/2004
Communications                                                   Suite 260
LLC                                                              Southfield, MI 48034
Meek Lakewood LLC                                                2000 Town Center, Ste.          owned property
                                                                 1900
                                                                 Southfield, MI 48075
Southfield Properties XX-XXXXXXX                                                                 owns real estate.
Group, LLC

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED




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              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date January 15, 2013                                                  Signature   /s/ Robert S. Shumake
                                                                                   Robert S. Shumake
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                         Eastern District of Michigan
 In re     Robert S. Shumake                                                                                                               Case No.   13-40001
                                                                                                Debtor(s)                                  Chapter    7


                                                             STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                PURSUANT TO F.R.BANKR.P. 2016(b)
           The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.         The undersigned is the attorney for the Debtor(s) in this case.
2.         The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
           [ ]     FLAT FEE
            A.      For legal services rendered in contemplation of and in connection with this case,
                    exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
            B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .
            C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           [X]          RETAINER
            A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2,000.00

            B.           The undersigned shall bill against the retainer at an hourly rate of $ 325.00 . [Or attach firm hourly rate schedule.]
                         Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.         $     306.00        of the filing fee has been paid.
4.         In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
           that do not apply.]
           A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                        bankruptcy;
           B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
           E.           Reaffirmations;
           F.           Redemptions;
           G.           Other:


5.         By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                    adversary proceedings
6.         The source of payments to the undersigned was from:
            A.        XX              Debtor(s)' earnings, wages, compensation for services performed
            B.                        Other (describe, including the identity of payor)
7.         The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
           corporation, any compensation paid or to be paid except as follows:

Dated:         January 15, 2013                                                                                        /s/ Thomas R. Morris
                                                                                                                       Attorney for the Debtor(s)
                                                                                                                       Thomas R. Morris P39141
                                                                                                                       Silverman & Morris, P.L.L.C.
                                                                                                                       30500 Northwestern Highway
                                                                                                                       Suite 200
                                                                                                                       Farmington Hills, MI 48334
                                                                                                                       (248) 539-1330 morris@silvermanmorris.com

Agreed:        /s/ Robert S. Shumake
               Robert S. Shumake
               Debtor                                                                                                  Debtor




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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF MICHIGAN
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                 Eastern District of Michigan
 In re     Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                 Debtor(s)                   Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Robert S. Shumake                                                                  X /s/ Robert S. Shumake                        January 15, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known) 13-40001                                                       X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                 Eastern District of Michigan
 In re     Robert S. Shumake                                                                         Case No.   13-40001
                                                                                  Debtor(s)          Chapter    7




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: January 15, 2013                                                 /s/ Robert S. Shumake
                                                                       Robert S. Shumake
                                                                       Signature of Debtor




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